                                          UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN JOSE DIVISION


    In re: ICHARTS, INC.                                          §    Case No. 18-50958
                                                                  §
                                                                  §
                                                                  §
                                 Debtor(s)


                                              TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

         1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 04/30/2018. The
   undersigned trustee was appointed on 04/30/2018.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

          3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
   exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
   An individual estate property record and report showing the disposition of all property of the estate is attached
   as Exhibit A.

           4. The trustee realized the gross receipts of                  $           18,797.02
                             Funds were disbursed in the following amounts:

                             Payments made under an
                              interim distribution                                           0.00
                             Administrative expenses                                         0.00
                             Bank service fees                                               0.00
                             Other payments to creditors                                     0.00
                             Non-estate funds paid to 3rd Parties                            0.00
                             Exemptions paid to the debtor                                   0.00
                             Other payments to the debtor                                    0.00
                             Leaving a balance on hand of1                $            18,797.02
    The remaining funds are available for distribution.

   1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to

   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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          5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

          6. The deadline for filing non-governmental claims in this case was 08/27/2018 and the deadline for filing
   governmental claims was 10/27/2018. All claims of each class which will receive a distribution have been
   examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
   explaining why payment on any claim is not being made, is attached as Exhibit C.


          7. The Trustee's proposed distribution is attached as Exhibit D.
          8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $2,629.70. To
   the extent that additional interest is earned before case closing, the maximum compensation may increase.


           The trustee has received $0.00 as interim compensation and now requests the sum of $1,299.66, for a
   total compensation of $1,299.662. In addition, the trustee received reimbursement for reasonable and necessary
   expenses in the amount of $0.00 and now requests reimbursement for expenses of $1.31 for total expenses of
   $1.312.

         Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
   and correct.




   Date: 04/09/2020                                     By: /s/ Fred Hjelmeset
                                                                        Trustee




   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. §1320.4(a)(2) applies.




         2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

   amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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     Case:         (5/1/2011)
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                                                               Form 1
                                                                                                                                                       Exhibit A
                                           Individual Estate Property Record and Report                                                                Page: 1

                                                            Asset Cases
Case No.:    18-50958                                                                         Trustee Name:      (001090) Fred Hjelmeset
Case Name:         ICHARTS, INC.                                                              Date Filed (f) or Converted (c): 04/30/2018 (f)
                                                                                              § 341(a) Meeting Date:       05/22/2018
For Period Ending:         04/09/2020                                                         Claims Bar Date:      08/27/2018

                                       1                                2                    3                      4                    5                  6

                           Asset Description                         Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)           Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                      Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                              and Other Costs)

    1       Possible avoidable transfer to V. Duncker                 60,000.00                  60,000.00                              15,000.00                        FA
            Demand for return of transfer made; avoidance action
            filed, AP No. 19-05011; Order authorizing compromise
            and purchase of source code, Doc#44; Report re:
            Transaction, Doc#46

    2       Cash on hand                                                    0.00                      0.00                                   0.00                        FA

    3       Square One Bank, checking 9053                                  0.00                      0.00                                   0.00                        FA

    4       Security deposit with Square 1 Bank                       15,000.00                       0.00                                   0.00                        FA
            against credit card debt
            Motion for Relief from stay filed by secured lender
            bank, Doc#25, to set off account 4288 against bank's
            claim; Motion granted, Doc#34

    5       A/R 90 days old or less.                                        0.00                      0.00                                   0.00                        FA
            Doubtful/Uncollectible accounts

    6       A/R Over 90 days                                                0.00                      0.00                                   0.00                        FA
            old.Doubtful/Uncollectible accounts

    7       10 laptop computers.                                            0.00                      0.00                                   0.00                        FA

    8       Office space at 516 Gibson Dr.,                                 0.00                      0.00                                   0.00                        FA
            Roseville, CA, leasehold, Valuation
            Method: liquidation
            Lease subject to pending UD action; Stipulation re
            lease and abandoning UD action, Doc#18

    9       8 patents & computer code                                       0.00                   100.00                                1,000.00                        FA
            Liens terminated, see Doc#40-1; Order authorizing
            compromise and purchase of source code, Doc#44;
            Report of Sale, Doc#45

   10       Domain name www.icharts.net                                     0.00                      0.00                                   0.00                        FA

   11       Goodwill, intangibles, lists, others                      50,000.00                       0.00                                   0.00                        FA

   12       TriNet refund (u)                                           2,797.02                  2,797.02                               2,797.02                        FA

   12       Assets Totals (Excluding unknown values)                $127,797.02               $62,897.02                             $18,797.02                    $0.00




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UST Form 101-7-TFR (5/1/2011)
                                                        Form 1
                                                                                                                                    Exhibit A
                                    Individual Estate Property Record and Report                                                    Page: 2

                                                     Asset Cases
Case No.:   18-50958                                                          Trustee Name:      (001090) Fred Hjelmeset
Case Name:      ICHARTS, INC.                                                 Date Filed (f) or Converted (c): 04/30/2018 (f)
                                                                              § 341(a) Meeting Date:    05/22/2018
For Period Ending:     04/09/2020                                             Claims Bar Date:     08/27/2018


 Major Activities Affecting Case Closing:

                            12/9/19 Negotiate settlement of AP
                            10/14/19 Request documents from Sears
                            9/30/19 Extension for production by PWB
                            9/12/19 Subpoenas to Square One and Avid Bank
                            8/5/19 Subpoena Pacific Western Bank for documents
                            7/24/19 Apply for 521 order for Debtor to produce documents
                            5/7/19 Settlement negotiations pending
                            2/27/19 Avoidance action against V. Duncker filed, AP No. 19-05011
                            12/18/18 Review records re Duncker transactions and transfers; research legal issues
                            9/28/18 Investigate possible avoidable transfer to V. Duncker; investigate financial affairs re Sears payments
                            to Debtor
                            7/2/18 Review relief from stay motion
                            6/12/18 Employ accountant
                            5/7/18 Investigate assets, transfers

 Initial Projected Date Of Final Report (TFR): 12/27/2019             Current Projected Date Of Final Report (TFR):    07/15/2020


                     04/09/2020                                                   /s/Fred Hjelmeset
                        Date                                                      Fred Hjelmeset




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UST Form 101-7-TFR (5/1/2011)
                                                               Form 2                                                                                Exhibit B
                                                                                                                                                     Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:              18-50958                                            Trustee Name:                   Fred Hjelmeset (001090)
Case Name:             ICHARTS, INC.                                       Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:         **-***6861                                          Account #:                      ******1238 Checking
For Period Ending: 04/09/2020                                              Blanket Bond (per case limit): $5,000,000.00
                                                                           Separate Bond (if applicable): N/A

    1          2                         3                                        4                             5                       6                      7

  Trans.    Check or       Paid To / Received From             Description of Transaction      Uniform       Deposit              Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                        $

 01/06/20     {12}     TriNet HR III, Inc                   Refund check                      1229-000              2,797.02                                        2,797.02
 02/05/20     {1}      Bankruptcy estate of iCharts, Inc.   WIRE FROM VALERIE DUNCKER         1141-000              3,500.00                                        6,297.02
 03/02/20              Valerie Duncker                      WIRE FROM VALERIE DUNCKER                           12,500.00                                          18,797.02
              {9}                                           Sale of SourceCode                1129-000
                                                                                  $1,000.00
              {1}                                           Preference                        1141-000
                                                                                 $11,500.00

                                             COLUMN TOTALS                                                       18,797.02                    0.00               $18,797.02
                                                   Less: Bank Transfers/CDs                                             0.00                  0.00
                                             Subtotal                                                            18,797.02                    0.00
                                                   Less: Payments to Debtors                                                                  0.00

                                             NET Receipts / Disbursements                                       $18,797.02                   $0.00




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{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                   ! - transaction has not been cleared
                                                       Form 2                                                              Exhibit B
                                                                                                                           Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           18-50958                                 Trustee Name:                  Fred Hjelmeset (001090)
Case Name:          ICHARTS, INC.                            Bank Name:                     Metropolitan Commercial Bank
Taxpayer ID #:      **-***6861                               Account #:                     ******1238 Checking
For Period Ending: 04/09/2020                                Blanket Bond (per case limit): $5,000,000.00
                                                             Separate Bond (if applicable): N/A

                                       Net Receipts:           $18,797.02
                            Plus Gross Adjustments:                 $0.00
                           Less Payments to Debtor:                 $0.00
                 Less Other Noncompensable Items:                   $0.00

                                         Net Estate:           $18,797.02




                                                                                                NET                   ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS              BALANCES
                                 ******1238 Checking                            $18,797.02            $0.00               $18,797.02

                                                                               $18,797.02                    $0.00         $18,797.02




                 04/09/2020                                          /s/Fred Hjelmeset
                    Date                                             Fred Hjelmeset




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UST Form 101-7-TFR (5/1/2011)
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                                                     Claims Distribution Register
                                             Case:     18-50958 ICHARTS, INC.

                               Claimant /                                  Amount            Amount       Paid to        Claim        Proposed
Claim#     Date      Pri             UTC             / Memo                 Filed            Allowed       Date         Balance       Payment

Admin Ch. 7 Claims:
          10/15/19   200 Clerk of the United States Bankruptcy                $ 350.00        $ 350.00      $ 0.00       $ 350.00        $ 172.98
                         Court
                         280 South First Street, Room 3035
                         San Jose, CA 95113-3099
                           <2700-00 Clerk of the Court Fees>
                           Filing fees for Adv. Proc. No.19-05011 -- Hjelmeset v. Duncker

          04/09/20   200 Kokjer Pierotti Maiocco & Duck LLP              $ 12,989.50        $ 12,989.50     $ 0.00     $ 12,989.50      $ 6,419.68
                         333 Pine Street, 5th Floor
                         San Francisco, CA 94104
                           <3410-00 Accountant for Trustee Fees (Other Firm)>
                           Final Application for Compensation, Doc#48

          04/09/20   200 Kokjer Pierotti Maiocco & Duck LLP                   $ 109.19        $ 109.19      $ 0.00       $ 109.19          $ 53.96
                         333 Pine Street, 5th Floor
                         San Francisco, CA 94104
                           <3420-00 Accountant for Trustee Expenses (Other Firm)>
                           Final Application for Compensation, Doc#48

          03/31/20   200 Rincon Law LLP                                  $ 19,740.00        $ 19,740.00     $ 0.00     $ 19,740.00      $ 9,755.91
                         200 California Street, Suite 400
                         San Francisco, CA 94111
                           <3210-00 Attorney for Trustee Fees (Other Firm)>
                           Final Application for Compensation, Doc#47

          03/31/20   200 Rincon Law LLP                                       $ 361.91        $ 361.91      $ 0.00       $ 361.91        $ 178.86
                         200 California Street, Suite 400
                         San Francisco, CA 94111
                           <3220-00 Attorney for Trustee Expenses (Other Firm) >
                           Final Application for Compensation, Doc#47

          06/25/19   200 Franchise Tax Board                              $ 1,850.72         $ 1,850.72     $ 0.00      $ 1,850.72       $ 914.66
                         (ADMINISTRATIVE)
                         Bankruptcy Section MS A340
                         PO Box 2952
                         Sacramento, CA 95812-2952
                           <2820-00 Other State or Local Taxes (post-petition)>

          03/16/20   200 Fred Hjelmeset                                   $ 2,629.70         $ 2,629.70     $ 0.00      $ 2,629.70      $ 1,299.66
                         P.O. Box 4188
                         Mountain View, CA 94040
                           <2100-00 Trustee Compensation>

          04/09/20   200 Fred Hjelmeset                                         $ 2.65           $ 2.65     $ 0.00          $ 2.65          $ 1.31
                         P.O. Box 4188
                         Mountain View, CA 94040
                           <2200-00 Trustee Expenses>

                Total for Priority 200:    49.42205% Paid                $ 38,033.67        $ 38,033.67     $ 0.00     $ 38,033.67     $ 18,797.02

                                      Total for Admin Ch. 7 Claims:      $ 38,033.67        $ 38,033.67     $ 0.00     $ 38,033.67     $ 18,797.02
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                                                      Claims Distribution Register
                                             Case:      18-50958 ICHARTS, INC.

                               Claimant /                                 Amount           Amount       Paid to        Claim        Proposed
Claim#     Date      Pri             UTC              / Memo               Filed           Allowed       Date         Balance       Payment

Secured Claims:
3S        06/06/18   100 DirectCapital Corporation                        $ 2,500.00           $ 0.00     $ 0.00          $ 0.00         $ 0.00
                         156 Commerce Way
                         Portsmouth, NH 03801
                           <4210-00 Personal Property & Intangibles - Consensual Liens>
                           Secured in equipment not administered by the estate

11S       06/22/18   100 Pacific Western Bank Attn: Megan                $ 15,023.94           $ 0.00     $ 0.00          $ 0.00         $ 0.00
                         Blunt
                         406 Blackwell Street, Suite 240
                         Durham, NC 27701
                           <4210-00 Personal Property & Intangibles - Consensual Liens>
                           Secured in money deposit not administered by estate

                Total for Priority 100:    0% Paid                       $ 17,523.94           $ 0.00     $ 0.00          $ 0.00         $ 0.00

                                           Total for Secured Claims:     $ 17,523.94           $ 0.00     $ 0.00          $ 0.00         $ 0.00

Priority Claims:
1P        05/08/18   510 Jeff James                                      $ 12,850.00      $ 12,850.00     $ 0.00     $ 12,850.00         $ 0.00
                         7007 Chalet Way
                         Pilot Hill, CA 95664
                           <5300-00 Wages - § 507(a)(4)>

19P       08/24/18   510 Daniel Steuer                                   $ 12,850.00      $ 12,850.00     $ 0.00     $ 12,850.00         $ 0.00
                         161 Hopper Lane
                         Folsom, CA 95630
                           <5300-00 Wages - § 507(a)(4)>

                Total for Priority 510:    0% Paid                       $ 25,700.00      $ 25,700.00     $ 0.00     $ 25,700.00         $ 0.00

2P        06/05/18   570 Internal Revenue Service                         $ 5,605.72       $ 5,605.72     $ 0.00      $ 5,605.72         $ 0.00
                         PO Box 7317
                         Philadelphia, PA 19101-7317
                           <5800-00 Claims of Governmental Units - § 507(a)(8)>

8         06/14/18   570 FRANCHISE TAX BOARD                               $ 829.28         $ 829.28      $ 0.00       $ 829.28          $ 0.00
                         BANKRUPTCY SECTION MS A340
                         PO BOX 2952
                         SACRAMENTO, CA 95812-2952
                           <5800-00 Claims of Governmental Units - § 507(a)(8)>

                Total for Priority 570:    0% Paid                        $ 6,435.00       $ 6,435.00     $ 0.00      $ 6,435.00         $ 0.00

                                            Total for Priority Claims:   $ 32,135.00      $ 32,135.00     $ 0.00     $ 32,135.00         $ 0.00




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                                                     Claims Distribution Register
                                         Case:        18-50958 ICHARTS, INC.

                              Claimant /                               Amount        Amount       Paid to        Claim        Proposed
Claim#     Date      Pri            UTC              / Memo             Filed        Allowed       Date         Balance       Payment

Unsecured Claims:
1U        05/08/18   610 Jeff James                                   $ 46,785.61   $ 46,785.61     $ 0.00     $ 46,785.61         $ 0.00
                         7007 Chalet Way
                         Pilot Hill, CA 95664
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

2U        06/05/18   610 Internal Revenue Service                      $ 2,150.20    $ 2,150.20     $ 0.00      $ 2,150.20         $ 0.00
                         PO Box 7346
                         Philadelphia, PA 19101-7346
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

3U        06/06/18   610 DirectCapital Corporation                    $ 13,708.80   $ 13,708.80     $ 0.00     $ 13,708.80         $ 0.00
                         156 Commerce Way
                         Portsmouth, NH 03801
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

4         06/08/18   610 Galaxy Gaming c/o Harry C Hagerty,            $ 7,000.00    $ 7,000.00     $ 0.00      $ 7,000.00         $ 0.00
                         CFO
                         6767 Spencer Street
                         Las Vegas, NV 89119
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

5         06/11/18   610 Studco Building Systems US LLC               $ 16,000.00   $ 16,000.00     $ 0.00     $ 16,000.00         $ 0.00
                         1700 Boulter Industrial Pkwy.
                         Webster, NY 14580
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

6         06/12/18   610 University of Oregon Bookstore, Inc.         $ 14,000.00   $ 14,000.00     $ 0.00     $ 14,000.00         $ 0.00
                         PO Box 3176
                         Eugene, OR 97403
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

7         06/12/18   610 JMW Sales, Inc. c/o Brian Westerberg          $ 4,300.00    $ 4,300.00     $ 0.00      $ 4,300.00         $ 0.00
                         340 A Street, Unit 1
                         Ashland, OR 97520
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

9         06/18/18   610 NeoNova Network Services                      $ 4,200.00    $ 4,200.00     $ 0.00      $ 4,200.00         $ 0.00
                         1201 Edwards Mill Road #102
                         Raleigh, NC 27607
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

10        06/21/18   610 Sweeney, Mason, Wilson &                     $ 16,840.16   $ 16,840.16     $ 0.00     $ 16,840.16         $ 0.00
                         Bosomworth
                         983 University Avenue, Suite 104C
                         Los Gatos, CA 95032
                           <7100-00 Section 726(a)(2) General Unsecured Claims>




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Printed: 04/09/20 12:18                                     Exhibit C                                                       Page: 4
                                                   Claims Distribution Register
                                          Case:      18-50958 ICHARTS, INC.

                              Claimant /                               Amount        Amount       Paid to       Claim        Proposed
Claim#     Date      Pri            UTC            / Memo               Filed        Allowed       Date        Balance       Payment
11U       06/22/18   610 Pacific Western Bank Attn: Megan                $ 141.38     $ 141.38      $ 0.00      $ 141.38          $ 0.00
                         Blunt
                         406 Blackwell Street, Suite 240
                         Durham, NC 27701
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

12        06/25/18   610 Vela Trading Technologies                     $ 5,225.00    $ 5,225.00     $ 0.00     $ 5,225.00         $ 0.00
                         211 East 43rd Street, 5th Fl.
                         New York, NY 10017
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

13        07/02/18   610 Arch Painting, Inc.                           $ 7,580.04    $ 7,580.04     $ 0.00     $ 7,580.04         $ 0.00
                         One Presidential Way, Suite 109
                         Woburn, MA 01801
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

14        07/03/18   610 Consolidated Communications                  $ 18,175.58   $ 18,175.58     $ 0.00    $ 18,175.58         $ 0.00
                         121 S. 17th St.
                         Mattoon, IL 61938
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

15        07/03/18   610 Polsinelli PC Attn: Accounting               $ 23,450.73   $ 23,450.73     $ 0.00    $ 23,450.73         $ 0.00
                         Dept/Bankruptcy
                         900 W. 48th Pl. #900
                         Kansas City, MO 64112
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

16        07/23/18   610 Ednetics                                      $ 9,876.71    $ 9,876.71     $ 0.00     $ 9,876.71         $ 0.00
                         971 S. Clearwater Loop
                         Post Falls, ID 83815
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

17-2      08/09/18   610 ViaNet Communications                         $ 5,950.00    $ 5,950.00     $ 0.00     $ 5,950.00         $ 0.00
                         PO Box 390637
                         Mountain View, CA 94039
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

18        08/09/18   610 Shea Center Roseville 1, LLCc/o John         $ 87,296.88   $ 87,296.88     $ 0.00    $ 87,296.88         $ 0.00
                         P. Byrne, Esq. The ByrneLaw Office
                         24011 Ventura Blvd., Suite 201
                         Calabasas, CA 91302
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

19U       08/24/18   610 Daniel Steuer                                $ 23,485.82   $ 23,485.82     $ 0.00    $ 23,485.82         $ 0.00
                         161 Hopper Lane
                         Folsom, CA 95630
                           <7100-00 Section 726(a)(2) General Unsecured Claims>




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                                                                       15
Printed: 04/09/20 12:18                                         Exhibit C                                                             Page: 5
                                                       Claims Distribution Register
                                              Case:      18-50958 ICHARTS, INC.

                               Claimant /                                   Amount           Amount       Paid to         Claim        Proposed
Claim#     Date      Pri             UTC               / Memo                Filed           Allowed       Date          Balance       Payment
20        08/27/18   610 Oracle America, Inc.c/o Shawn                    $ 25,299.40      $ 25,299.40      $ 0.00     $ 25,299.40           $ 0.00
                         Christianson, Esq. Buchalter, A
                         Professional Corporation
                         55 Second Street, 17th Floor
                         San Francisco, CA 94105
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

21-2      08/27/18   610 Sears Hometown and Outlet Stores,              $ 1,308,198.69   $ 1,308,198.69     $ 0.00   $ 1,308,198.69          $ 0.00
                         Inc.
                         5500 Trillium Blvd., Suite 501
                         Hoffman Estates, IL 06192
                           <7100-00 Section 726(a)(2) General Unsecured Claims>

                Total for Priority 610:    0% Paid                      $ 1,639,665.00   $ 1,639,665.00     $ 0.00   $ 1,639,665.00          $ 0.00

                                          Total for Unsecured Claims:   $ 1,639,665.00   $ 1,639,665.00     $ 0.00   $ 1,639,665.00          $ 0.00

                                                      Total for Case:   $ 1,727,357.61   $ 1,709,833.67     $ 0.00   $ 1,709,833.67     $ 18,797.02




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                                                                        15
                                     TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                Exhibit D


    Case No.: 18-50958
    Case Name: ICHARTS, INC.
    Trustee Name: Fred Hjelmeset

                                                       Balance on hand:        $                            18,797.02

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                           Claim        Allowed           Interim         Proposed
  No.                                                        Asserted        Amount        Payments to          Payment
                                                                             of Claim             Date

  11S       Pacific Western Bank Attn: Megan Blunt           15,023.94             0.00              0.00              0.00
  3S        DirectCapital Corporation                         2,500.00             0.00              0.00              0.00

                                                   Total to be paid to secured creditors:        $                   0.00
                                                   Remaining balance:                            $              18,797.02

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                             Total           Interim         Proposed
                                                                           Requested         Payments           Payment
                                                                                               to Date

  Trustee, Fees - Fred Hjelmeset                                              2,629.70               0.00        1,299.66
  Trustee, Expenses - Fred Hjelmeset                                               2.65              0.00              1.31
  Charges, U.S. Bankruptcy Court                                               350.00                0.00         172.98
  Other State or Local Taxes (post-petition) - Franchise Tax Board            1,850.72               0.00         914.66
  (ADMINISTRATIVE)
  Attorney for Trustee Fees (Other Firm) - Rincon Law LLP                    19,740.00               0.00        9,755.91
  Attorney for Trustee Expenses (Other Firm) - Rincon Law LLP                  361.91                0.00         178.86
  Accountant for Trustee Fees (Other Firm) - Kokjer Pierotti Maiocco &       12,989.50               0.00        6,419.68
  Duck LLP
  Accountant for Trustee Expenses (Other Firm) - Kokjer Pierotti               109.19                0.00          53.96
  Maiocco & Duck LLP
                        Total to be paid for chapter 7 administrative expenses:                  $              18,797.02
                        Remaining balance:                                                       $                   0.00

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                       Total            Interim           Proposed
                                                                         Requested        Payments          Payment

                                                            None




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                       Total to be paid for prior chapter administrative expenses:              $            0.00
                       Remaining balance:                                                       $            0.00

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $32,135.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                             Allowed Amount          Interim Payments             Proposed
  No.                                                     of Claim                   to Date             Payment

  1P          Jeff James                                   12,850.00                     0.00               0.00
  2P          Internal Revenue Service                      5,605.72                     0.00               0.00
  8           FRANCHISE TAX BOARD                             829.28                     0.00               0.00
  19P         Daniel Steuer                                12,850.00                     0.00               0.00

                                                     Total to be paid for priority claims:      $            0.00
                                                     Remaining balance:                         $            0.00




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              The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
              Timely claims of general (unsecured) creditors totaling $1,639,665.00 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1U          Jeff James                                     46,785.61                    0.00                      0.00
  2U          Internal Revenue Service                        2,150.20                    0.00                      0.00
  3U          DirectCapital Corporation                      13,708.80                    0.00                      0.00
  4           Galaxy Gaming c/o Harry C                       7,000.00                    0.00                      0.00
              Hagerty, CFO
  5           Studco Building Systems US LLC                 16,000.00                    0.00                      0.00
  6           University of Oregon Bookstore,                14,000.00                    0.00                      0.00
              Inc.
  7           JMW Sales, Inc. c/o Brian                       4,300.00                    0.00                      0.00
              Westerberg
  9           NeoNova Network Services                        4,200.00                    0.00                      0.00
  10          Sweeney, Mason, Wilson &                       16,840.16                    0.00                      0.00
              Bosomworth
  11U         Pacific Western Bank Attn:                        141.38                    0.00                      0.00
              Megan Blunt
  12          Vela Trading Technologies                       5,225.00                    0.00                      0.00
  13          Arch Painting, Inc.                             7,580.04                    0.00                      0.00
  14          Consolidated Communications                    18,175.58                    0.00                      0.00
  15          Polsinelli PC Attn: Accounting                 23,450.73                    0.00                      0.00
              Dept/Bankruptcy
  16          Ednetics                                        9,876.71                    0.00                      0.00
  17-2        ViaNet Communications                           5,950.00                    0.00                      0.00
  18          Shea Center Roseville 1, LLCc/o                87,296.88                    0.00                      0.00
              John P. Byrne, Esq. The
              ByrneLaw Office
  19U         Daniel Steuer                                  23,485.82                    0.00                      0.00
  20          Oracle America, Inc.c/o Shawn                  25,299.40                    0.00                      0.00
              Christianson, Esq. Buchalter, A
              Professional Corporation
  21-2        Sears Hometown and Outlet                   1,308,198.69                    0.00                      0.00
              Stores, Inc.
                           Total to be paid for timely general unsecured claims:                 $                  0.00
                           Remaining balance:                                                    $                  0.00




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           Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
    paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
    applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                        Total to be paid for tardily filed general unsecured claims:         $                 0.00
                        Remaining balance:                                                   $                 0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $                   0.00




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